  Case 22-33571-KRH              Doc 14 Filed 12/25/22 Entered 12/26/22 00:11:18                            Desc Imaged
                                      Certificate of Notice Page 1 of 4
                                    United States Bankruptcy Court
                                          Eastern District of Virginia
                                              Richmond Division
                                             701 East Broad Street
                                             Richmond, VA 23219

                                                         Case Number 22−33571−KRH
In re:                                                   Chapter 13
Kimberly L. Berry
dba Blaine Transport, LLC
495 Ravenscroft Road
South Prince George, VA 23805
SSN: xxx−xx−4318           EIN: 26−0317755



                         NOTICE OF RESCHEDULED MEETING OF CREDITORS

 NOTICE IS HEREBY GIVEN that the meeting of creditors in the above referenced case has been rescheduled
 to January 19, 2023, at 12:00 PM, and will be held as a telephonic 341 creditors meeting. For dial−in contact
 information see trustees address below. For updates, see www.vaeb.uscourts.gov.

 (If appropriate) NOTICE IS FURTHER GIVEN that the United States Trustee has appointed the following as
 substitute interim trustee of the estate of the above−named debtor(s):

 Substitute Interim Trustee:                 Suzanne E. Wade

                                             341 Dial 877−996−8484 Code 2385911
                                             7202 Glen Forest Drive, Ste. 202
                                             Richmond, VA 23226

 NOTICE IS FURTHER GIVEN that, except for the rescheduled meeting of creditors, all other matters and dates
 set forth in the court's notice dated December 20, 2022 remain in full force and effect.

 Dated: December 23, 2022                                 For the Court,
                                                          William C. Redden, Clerk
 (VAN−030)                                                United States Bankruptcy Court
      Case 22-33571-KRH                      Doc 14 Filed 12/25/22 Entered 12/26/22 00:11:18                                             Desc Imaged
                                                  Certificate of Notice Page 2 of 4
                                                              United States Bankruptcy Court
                                                               Eastern District of Virginia
In re:                                                                                                                 Case No. 22-33571-KRH
Kimberly L. Berry                                                                                                      Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0422-7                                                  User:                                                                       Page 1 of 3
Date Rcvd: Dec 23, 2022                                               Form ID: VAN030                                                           Total Noticed: 36
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 25, 2022:
Recip ID                   Recipient Name and Address
db                     +   Kimberly L. Berry, 495 Ravenscroft Road, South Prince George, VA 23805-7122
16032051               +   Capital One/SaksFirst, 3455 Hwy 80 West, Jackson, MS 39209-7202
16032052               +   Charles City County Treasurer, P.O. Box 38, Charles City, VA 23030-0038
16032058               +   City of Petersburg, Treasurer, Post Office Box 1271, Petersburg, VA 23804-1271
16032067               +   Jesse Albert Moore, 208 Fulham Circle, Richmond, VA 23227-1711
16032069               +   Kimberly Alice Chandler, Chandler Law Firm, P.O. Box 17586, Richmond, VA 23226-7586
16032081               +   Richmond City R/E Tax, P.O. Box 26505, Richmond, VA 23261-6505
16032083               +   Syncb/Old Navy, P.o. Box 8803, Wilmington, DE 19899-8803
16032084               +   U.S. Small Adminstration, 14925 Kingsport Road, Fort Worth, TX 76155-2243
16032085               +   Virginia Farm Bureau Mutual, P.O. Box 27552, Richmond, VA 23261-7552

TOTAL: 10

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
16033870               + Email/Text: va_tax_bk@harriscollect.com
                                                                                        Dec 23 2022 23:27:00      COMMONWEALTH OF VIRGINIA,
                                                                                                                  DEPARTMENT OF TAXATION, PO BOX 2156,
                                                                                                                  RICHMOND, VA 23218-2156
16032050               + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Dec 23 2022 23:33:04      Capital One/SaksFirst, Attn: Bankruptcy, Po Box
                                                                                                                  30285, Salt Lake City, UT 84130-0285
16032054               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Dec 23 2022 23:33:09      Citibank, Po Box 6217, Sioux Falls, SD
                                                                                                                  57117-6217
16032053               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Dec 23 2022 23:33:13      Citibank, Attn: Bankruptcy, P.O. Box 790034, St
                                                                                                                  Louis, MO 63179-0034
16032056               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Dec 23 2022 23:33:09      Citibank/The Home Depot, Po Box 6497, Sioux
                                                                                                                  Falls, SD 57117-6497
16032055               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Dec 23 2022 23:33:05      Citibank/The Home Depot, Citicorp Credit
                                                                                                                  Srvs/Centralized Bk dept, Po Box 790034, St
                                                                                                                  Louis, MO 63179-0034
16032057               + Email/Text: bankruptcy@cbtva.com
                                                                                        Dec 23 2022 23:27:00      Citizensbk, 126 S Main St, Blackstone, VA
                                                                                                                  23824-1842
16032060                   Email/Text: va_tax_bk@harriscollect.com
                                                                                        Dec 23 2022 23:27:00      Commonwealth of VA-Tax, P.O. Box 2156,
                                                                                                                  Richmond, VA 23218-2156
16036330               + Email/Text: va_tax_bk@harriscollect.com
                                                                                        Dec 23 2022 23:27:00      Commonwealth of Virginia Department of
                                                                                                                  Taxation, Department of Taxation, PO BOX 2156,
                                                                                                                  Richmond, VA 23218-2156
16033871                   Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Dec 23 2022 23:27:00      DEPARTMENT OF THE TREASURY - IRS,
                                                                                                                  INTERNAL REVENUE SERVICE, PO BOX
                                                                                                                  7346, PHILADELPHIA, PA 19101-7346
16032072               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Dec 23 2022 23:33:06      Macys/fdsb, Attn: Bankruptcy, 9111 Duke
                                                                                                                  Boulevard, Mason, OH 45040-0000
16032063               + Email/Text: Bankruptcy@Freedommortgage.com
      Case 22-33571-KRH                    Doc 14 Filed 12/25/22 Entered 12/26/22 00:11:18                                        Desc Imaged
                                                Certificate of Notice Page 3 of 4
District/off: 0422-7                                               User:                                                                  Page 2 of 3
Date Rcvd: Dec 23, 2022                                            Form ID: VAN030                                                      Total Noticed: 36
                                                                                   Dec 23 2022 23:26:00     Freedom Mortgage Corporation, P.o. Box 50485,
                                                                                                            Indianapolis, IN 46250-0485
16032062              + Email/Text: Bankruptcy@Freedommortgage.com
                                                                                   Dec 23 2022 23:26:00     Freedom Mortgage Corporation, Attn: Bankruptcy,
                                                                                                            907 Pleasant Valley Ave, Ste 3, Mt Laurel, NJ
                                                                                                            08054-1210
16032064              + Email/Text: bankruptcy@fult.com
                                                                                   Dec 23 2022 23:27:00     Fulton Mortgage, P.O. Box 4887, Lancaster, PA
                                                                                                            17604-4887
16032071              + Email/Text: pslater@langleyfcu.org
                                                                                   Dec 23 2022 23:27:13     Langley Federal Credit Union, 721 Lakefront
                                                                                                            Commons, Newport News, VA 23606-3324
16032070              + Email/Text: pslater@langleyfcu.org
                                                                                   Dec 23 2022 23:27:13     Langley Federal Credit Union, Attn: Bankruptcy,
                                                                                                            Po Box 120128, Newport News, VA 23612-0128
16032073              + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                   Dec 23 2022 23:33:09     Macys/fdsb, Po Box 6789, Sioux Falls, SD
                                                                                                            57117-6789
16032074              + Email/Text: M74banko@mercedes-benz.com
                                                                                   Dec 23 2022 23:26:00     Mercedes-Benz Financial Services, Attn:
                                                                                                            Bankruptcy, Po Box 685, Roanoke, TX
                                                                                                            76262-0685
16032075              + Email/Text: M74banko@mercedes-benz.com
                                                                                   Dec 23 2022 23:26:00     Mercedes-Benz Financial Services, P.o. Box 961,
                                                                                                            Roanoke, TX 76262-0961
16032077              + Email/PDF: ebnotices@pnmac.com
                                                                                   Dec 23 2022 23:33:09     PennyMac Loan Services, LLC, Attn:
                                                                                                            Correspondence Unit, Po Box 514387, Los
                                                                                                            Angeles, CA 90051-4387
16032078              + Email/PDF: ebnotices@pnmac.com
                                                                                   Dec 23 2022 23:33:09     PennyMac Loan Services, LLC, Po Box 514387,
                                                                                                            Los Angeles, CA 90051-4387
16032082              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Dec 23 2022 23:33:12     Syncb/Old Navy, Attn: Bankruptcy, Po Box
                                                                                                            965060, Orlando, FL 32896-5060
16032087              + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Dec 23 2022 23:33:08     Wells Fargo Bank NA, Po Box 14517, Des
                                                                                                            Moines, IA 50306-3517
16032086              + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Dec 23 2022 23:33:12     Wells Fargo Bank NA, 1 Home Campus Mac
                                                                                                            X2303-01a, Des Moines, IA 50328-0001
16032089              + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Dec 23 2022 23:33:04     Wells Fargo Home Mortgage, Po Box 10335, Des
                                                                                                            Moines, IA 50306-0335
16032088              + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Dec 23 2022 23:33:12     Wells Fargo Home Mortgage, Attn: Written
                                                                                                            Correspondence, Po Box 10335, Des Moines, IA
                                                                                                            50306-0335

TOTAL: 26


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr                            Wells Fargo Bank, NA
16032049                      Adrian Gatling
16032059                      Comenitybank/vicsecrmc, 00000-0000
16032061                      Daniel Smith
16032066                      Jerry & Phyliss Barnes
16032068                      Johnnie Jenkins
16032076                      Paul Johnson
16032079                      Pete Wink
16032080                      Rebecca D. Berry
cr              *+            Jesse Albert Moore, 208 Fulham Circle, Richmond, VA 23227-1711
16032065        *             Internal Revenue Service, Centralized Insolvency Unit, P O Box 7346, Philadelphia, PA 19101-7346

TOTAL: 9 Undeliverable, 2 Duplicate, 0 Out of date forwarding address
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                                               Certificate of Notice Page 4 of 4
District/off: 0422-7                                             User:                                                                  Page 3 of 3
Date Rcvd: Dec 23, 2022                                          Form ID: VAN030                                                      Total Noticed: 36

                                                  NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 25, 2022                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 23, 2022 at the address(es) listed
below:
Name                            Email Address
Carl M. Bates
                                station01@richchap13.com
                                station10@richchap13.com;station03@richchap13.com;station07@richchap13.com;station06@richchap13.com

Christopher Mark Winslow
                                on behalf of Debtor Kimberly L. Berry chris@chriswinslow.com
                                bankruptcy@wmmlegal.com;r44317@notify.bestcase.com;winslowbk@gmail.com;mandy@wmmlegal.com

Daniel M. Press
                                on behalf of Creditor Jesse Albert Moore dpress@chung-press.com pressdm@gmail.com

John P. Fitzgerald, III
                                USTPRegion04.RH.ECF@usdoj.gov

Johnie Rush Muncy
                                on behalf of Creditor Wells Fargo Bank NA jmuncy@siwpc.com,
                                dsasser@siwpc.com;ewhite@siwpc.com;bkreferrals@siwpc.com;siwbkecf@siwpc.com;siwpc@ecf.courtdrive.com;siwattecf@si
                                wpc.com

Suzanne E. Wade
                                ecfsummary@ch13ricva.com trustee@ch13ricva.com;fred@cmc13.net


TOTAL: 6
